                 Case 1-18-01038-ess              Doc 64        Filed 10/19/19          Entered 10/22/19 18:53:03

                                               United States Bankruptcy Court
                                               Eastern District of New York
Duval,
              Plaintiff                                                                           Adv. Proc. No. 18-01038-ess
AFX Capital Markets Ltd.,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: cteutonic                    Page 1 of 1                          Date Rcvd: Oct 17, 2019
                                      Form ID: pdf000                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 19, 2019.
pla            +Esther Duval,   1065 Avenue of the Americas,   New York, NY 10018-1878

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Oct 17 2019 18:45:37
                 Office of the United States Trustee,   Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,   New York, NY 10014-4811
ust            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Oct 17 2019 18:45:37     United States Trustee,
                 Office of the United States Trustee,   U.S. Federal Office Building,
                 201 Varick Street, Room 1006,   New York, NY 10014-7016
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
ust*             +United States Trustee,   Office of the United States Trustee,                      U.S. Federal Office Building,
                   201 Varick Street, Room 1006,   New York, NY 10014-7016
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 19, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 17, 2019 at the address(es) listed below:
              Heidi J Sorvino   on behalf of Defendant    AFX Capital Markets Ltd. Sorvinoh@whiteandwilliams.com
              Heidi J Sorvino   on behalf of Defendant    AFX Capital U.S. Corp. Sorvinoh@whiteandwilliams.com
              Heidi J Sorvino   on behalf of Defendant    STO Super Trading Online Sorvinoh@whiteandwilliams.com
              Jacqulyn Somers Loftin    on behalf of Plaintiff Esther Duval jsl@lhmlawfirm.com
              Joseph S Maniscalco    on behalf of Plaintiff Esther Duval jsm@lhmlawfirm.com
                                                                                             TOTAL: 5
       Case 1-18-01038-ess            Doc 64      Filed 10/19/19       Entered 10/22/19 18:53:03

                                                                                        Joseph S. Maniscalco, Esq.
LAMONICA HERBST & MANISCALCO, LLP                                                                           Member
Moving Forward. Staying Ahead.®                                                                 p: 516.826.6500 x218
                                                                                              jsm@lhmlawfirm.com


                                                              October 16, 2019

    Via Electronic Filing
    Judge Elizabeth S. Stong
    United States Bankruptcy Court, E.D.N.Y.
    Conrad B. Duberstein U.S. Courthouse
    271-C Cadman Plaza East, Suite1595
    Brooklyn, NY 11201-1800

                             In re Esther DuVal, as Chapter 11 Trustee of Gallant Capital
                                   Markets Ltd. v. AFX Capital Markets Ltd. et al.
                                   Adv. Proc. No. 18-1038 (ESS)

    To the Honorable Judge Stong:

            My firm represents Esther DuVal, solely in her capacity as the Chapter 11 Trustee (the
    ³Trustee´ RIWKHMRLQWO\DGPLQLVWHUHGHVWDWHVRI$YHQLFD,QFDQG*DOODQW&DSLWDO0DUNHWV/WG.
    The Trustee is also the plaintiff in the above adversary proceeding WKH³Adversary Proceeding´
    against AFX Capital Markets Ltd. et al. (collectively, ³AFX Defendants´ 
           This letter is in response to the request of AFX Defendants to hold their time to file a
    response to the 7UXVWHH¶V Sanction Motion in abeyance while the Court conduct a status
    conference in the Adversary Proceeding submitted to the Court on October 15, 2019 [Dkt. No.
    60].

           The Trustee respectfully requests that the Court deny the request of the AFX Defendants
    and proceed with the hearing on the Sanction Motion.

            On September 27, 2019, the Trustee filed a motion seeking the entry of an Order for a
    judgment against AFX Defendants seeking sanctions and fees for engaging in bad faith and
    LQMXQFWLYHUHOLHI WKH³Sanctions Motion´ >'NW1R@, which was served on AFX Defendants
    on the same day. The hearing on the Sanctions Motions is scheduled for October 24, 2019 with
    UHVSRQVHVGXHRQ2FWREHU WKH³Objection Deadline´ 

           Despite having the Sanctions Motion for 3 weeks, AFX Defendants wait until the eve of
    the Objection Deadline to file their letter request.

           Their request is only further proof of the delay tactics and bad faith behavior by AFX
    Defendants that has plagued this Adversary Proceeding (e.g. the multiple misrepresentations to
    7UXVWHH¶VFRXQVHODQGWKLV&RXUWDERXWWKHSHQGLQJSD\PHQWVXQGHr the stipulation of settlement
    and the current status of AFX Defendants).




        3305 Jerusalem Avenue, Wantagh, New YorNɇSɇIɇZZZOKPODZILUPFRP
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LAMONICA HERBST & MANISCALCO, LLP

Judge Elizabeth S. Stong
United States Bankruptcy Court, E.D.N.Y.
Page 2

        Upon information and belief, counsel for AFX Defendants have known for months of its
FOLHQWV¶alleged shutdown, but failed to advise the Court until now.

        AFX Defendants have failed to set forth any reason why their time to file a response
should be held in abeyance. Should the AFX Defendants believe that the Sanctions Motion has
no merit as asserted in the request, then it can file a response explaining their basis for their
position and request that this Court deny the relief requested.

       AFX Defendants should not be afforded another opportunity to make misrepresentations
and delay this Adversary Proceeding. Indeed, granting a status conference and holding their
response in abeyance will only reward AFX Defendants for this inappropriate behavior.

       Accordingly, the Trustee submits that the request be denied. The Trustee will, however,
FRQVHQW WR DQ H[WHQVLRQ RI $); 'HIHQGDQWV¶ WLPH WR ILOH D UHVSRQVH XQWLO )ULGD\ 2FWRber 18,
2019 by 12:00 p.m.

          Thank you for your attention to this matter.


                                                            Respectfully submitted,

                                                            s/ Joseph S. Maniscalco
                                                            Joseph S. Maniscalco
cc:       Esther DuVal, Trustee (via email)
          Heidi Sorvino, Esq. (via email)

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                                                                        ____________________________
 Dated: Brooklyn, New York                                                     Elizabeth S. Stong
        October 17, 2019                                                United States Bankruptcy Judge




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